EXHIBIT A

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 11
In re:

ease NO. 16~10238 (MFW)
sFX ENTERTAINMENT, rNC., er al. ,1

(Jointly Administered)
Reorganized Debtors.

Related Docket No. 1817

 

 

ORDER GRANTING THE SFX LITIGATION TRUSTEE’S SEC()ND OMNIBUS
OBJECTION TO CLAIMS - SUBSTANTIVE (BOOKS AND RECORDS)

 

Upon consideration of the SFX Lz'tz`gaz‘lbn Trustee ’S Second Omnz'bus Objection to Claz`ms
~ Substanlz`ve (Books and Records) (the “Ob]`ection”) and that certain Notice of the SFX
Litigatz'on Trusl‘ee ’s Second Omnz`bus Objection to Claz'ms - Substantive (Books and Records);
and it appearing that this Court has jurisdiction to consider the Objection pursuant to 28 U.S.C.
§§ 157 and 1334; and it appearing that venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409;
and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it

appearing that notice of the ij ection Was good and sufficient under the circumstances and that

 

1 The Reorganized Debtors in these Chapter 11 Cases, along With the last four digits of each Reorganized
Debtor’s federal tax identification number, if applicable, are: 430R Acquisition LLC (7350); Beatport, LLC
(1024); Core Productions LLC (3613); EZ Festivals, LLC (2693); Flavorus, Inc. (7119); ID&T/SFX
Mysteryland LLC (6459); ID&T/SFX North America LLC (5154); lD&T/SFX Q-Dance LLC (6298);
ID&T/SFX Sensation LLC (6460); ID&T/SFX TomorrowWorld LLC (7238); LETMA Acquisition LLC
(0452); Made Event, LLC (1127); Michigan JJ Holdings LLC (n/a); SFX Acquisition, LLC (1063); SFX Brazil
LLC (0047); SFX Canada Inc. (7070); SFX Development LLC (2102); SFX EDM Holdings Corporation
(246()); SFX Entertainment, Inc. (0047); SFX Entertainment International, Inc. (2987); SFX Entertainment
International II, Inc. (1998); SFX Intermediate Holdco II LLC (5954); SFX Managing Member Inc. (2428);
SFX Marketing LLC (7734); SFX Platform & Sponsorship LLC (9234); SFX Technology Services, Inc. (0402);
SFX/AB Live Event Canada, Inc. (6422); SFX/AB Live Event Intermediate Holdco LLC (8004); SFX/AB Live
Event LLC (9703); SFX-94 LLC (5884); SFX-Disco Intermediate Holdco LLC (5441); SFX-Disco Operating
LLC (5441); SFXE IP LLC (0047); SFX-EMC, Inc. (7765); SFX-Hudson LLC (0047); SFX-IDT N.A. Holding
ll LLC (4860); SFX-LIC Operating LLC (0950); SFX-IDT N.A. Holding LLC (2428); SFX-Nightlife
Operating LLC (4673); SFX-Perryscope LLC (4724); SFX-React Operating LLC (0584); Spring Awakening,
LLC (6390); SFXE Netherlands Holdings Cooperatief U.A. (6812); SFXE Netherlands Holdings B.V. (6898).
The Reorganized Debtors’ business address is 902 Broadway, 15th Floor, New York, NY 10010.

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no other or further notice is necessary; and after due deliberation thereon; and good and
sufficient cause appearing therefor;

IT IS HEREBY GRDERED THAT:

l. The Objection is GRANTED as set forth herein.

2. The Claims listed on EXhibit l hereto are modified and allowed in the amounts set
forth in that column of Exhibit l entitled “l\/Iodified Claim Amount”.

3. Kurtzman Carson Consultants, LLC, as claims and noticing agent in the above-
captioned chapter ll cases, is authorized and directed to update the claims register to reflect the
relief granted in this Order.

4. The Litigation Trustee and the Reorganized Debtors are authorized and
empowered to take all actions necessary to implement the relief granted in this Order.

5. This Court shall retain jurisdiction With respect to all matters arising from or

relating to the interpretation or implementation of this Order.

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